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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                ABILENE DIVISION

A.A.R.P., on his own behalf and on behalf
of all others similarly situated, et al.,

        Petitioners-Plaintiffs,

v.                                                            No. 1:25-CV-059-H

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

        Respondents-Defendants.

                                           ORDER
       Before the Court is the petitioners’ unopposed motion for leave to file an amended

class petition for writ of habeas corpus and complaint for declaratory and injunctive relief

and amended class-certification motion (Dkt. No. 35). The motion is granted. The Clerk of

Court is directed to file the amended petition and complaint (Dkt. No. 35-1) as a separate

docket entry, the amended motion for class certification (Dkt. No. 35-2) as a separate docket

entry, and the petitioners’ memorandum of law in support of the motion for class

certification (Dkt. No. 35-3) as a separate docket entry. The Court denies as moot the

petitioners’ original motion for class certification (Dkt. No. 3). The Court’s scheduling

deadlines set forth in its scheduling order regarding class certification (Dkt. No. 31) remain

in effect as applied to the amended motion.

       So ordered on April 18, 2025.



                                                  JAMES WESLEY HENDRIX
                                                  UNITED STATES DISTRICT JUDGE
